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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Helen C. Adams, Chief U.S. Magistrate Judge
Case No. 4:22-cr-00199-SHL-HCA                : Clerk’s Court Minutes – Motion Hearing
______________________________________________________________________________________________________________________________________

Plaintiff(s)                                               : Defendant(s)
                                                           :
USA                                                        : Wendt, et al
                                                           :
                                                           :
                                                           :
                                                           :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Mikaela J. Shotwell


Defendant(s) Counsel: Nick Klinefeldt, Rachel A. Yaggi, Dean A. Stowers

Court Reporter: Kelli Mulcahy                               :   Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________
Motion to Compel [128] and Joinder [154]                                                          :             X
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_______________________________________________________________________________________________________________________________________

Proceedings:
Court and counsel are present in the courtroom for a motion hearing. Argument by defense counsel. Argument
by government. Court holds colloquy with counsel. Further argument by defense counsel.
Court takes matter under advisement.

Order to follow.




Time Start: 12:58 PM
Time End: 1:49 PM
Date: June 12, 2023                                                                       /s/ P. Luthens
                                                                                          __________________________
                                                                                          Deputy Clerk
